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January 23, 2024

RE: Mr. Jose Huizar Victim Impact Statement

Dear Sir or Madam:

My name is Fred Walti, and I am the co-founder and founding CEO of the Los Angeles Cleantech
Incubator (LACI), located in then Councilman Huizar’s district. LACI, a nonprofit created in 2011 by the
City of Angeles, was established to lead the City’s efforts to build a cleantech innovation hub and its
resulting green economy. As part of our mission, LACI was focused on growing family-supporting jobs in a
high growth industry for residents of Boyle Heights and East LA.

We started LACI from modest beginnings – we were in a converted bus repair garage right across the
river from Boyle Heights. It was tough gathering support for the project, attracting high-potential startups
to LACI, and getting enough funding to operate during its first few years.

We were never able to get any support from Huizar despite LACI’s potential to provide a future for his
constituents. Oh, Huizar was very willing to attend a grand opening or ribbon cutting where he could
make a speech; but lending any actual support (either financial or otherwise) was never forthcoming. I
could never understand why “our” Councilman would never give us the time of day despite the potential
to help his constituents. Numerous efforts to build job-training “bridges” between the startups of LACI
and the citizens of Boyle Heights/ East LA were met with silence and no action. Why?

Now we know why. We weren’t paying him to help us, thus he had absolutely no interest. During a time
when “green tech” was (and is) the fastest growing business sector in the world, Boyle Heights and East
LA residents were denied the opportunity to participate in this future. This is a shame.

Building LACI was my first experience in working with local government. I was naïve in thinking that local
politicians and their staff were solely focused on helping their constituents. Unfortunately, I had the
extreme displeasure of not only working with Mr. Huizar, but also former Councilmember Englander,
former Deputy Mayor Chan, and former LADWP General Manager Wright – all of whom accepted bribes
rather than putting in the hard, honest work of building needed LA institutions like LACI.

Finally, as a former resident of the “Arts District,” I am saddened that Mr. Huizar’s acceptance of bribes
from developers has forever transformed the very nature of the “Arts District” by allowing high-rise, high
density apartments and condos to sprout up throughout the area. Once an “alternative” neighborhood
made up of low-rise apartments, warehouses, creative office spaces, and artist lofts, Mr. Huizar’s bribes
have forever ruined this historic industrial zone.


Fred Walti
Co-Founder and Founding CEO
Los Angeles Cleantech Incubator

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